                   Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 1 of 22




 1

 2

 3

 4

 5

 6

 7
                                UNITED STATES DISTRICT COURT,
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10   JANE DOE, individually and on behalf of all
     other similarly situated,
11                                                   No. ___________________
                                        Plaintiff,
12
              v.                                     CLASS ACTION COMPLAINT
13
     FAIRFAX BEHAVIORAL HEALTH,
14
                                     Defendant.      DEMAND FOR JURY TRIAL
15

16

17

18
19

20

21

22

23

24

25

26
27

28

     CLASS ACTION COMPLAINT
     Case No.
     003229-11/1121825 V1
                    Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 2 of 22




 1                                                      TABLE OF CONTENTS
                                                                                                                                                Page
 2
     I.        INTRODUCTION ...............................................................................................................1
 3
     II.       THE PARTIES.....................................................................................................................2
 4
     III.      JURISDICTION AND VENUE ..........................................................................................3
 5
     IV.       FACTS .................................................................................................................................3
 6
               A.         Plaintiff Doe was traumatized by baseless, invasive strip- and cavity-
 7                        searches. ...................................................................................................................3

 8             B.         Jane Doe filed grievances and video footage of the incident was destroyed. ..........5

 9             C.         Fairfax Hospital staff practice indiscriminate cavity searching, strip
                          searching and video recording of patients in various states of undress. ..................5
10
               D.         Fairfax Hospital’s invasive search and video monitoring practices are
11                        motivated by discriminatory animus. .......................................................................7

12             E.         Fairfax Hospital’s strip search and video monitoring practices have a
                          disparate impact on survivors of trauma, including Jane Doe. ..............................10
13
     V.        CLASS ALLEGATIONS ..................................................................................................11
14
     VI.       CAUSES OF ACTION ......................................................................................................12
15
     COUNT I TITLE III OF THE AMERICANS WITH DISABILITIES ACT ...............................12
16
     COUNT II ABUSE OF VULNERABLE ADULTS ....................................................................14
17
     COUNT III NEGLIGENCE .........................................................................................................15
18
     COUNT IV INVASION OF PRIVACY.......................................................................................16
19
     COUNT V INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS ...............................17
20
     COUNT VI NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS ..................................17
21
     PRAYER FOR RELIEF ................................................................................................................19
22
     JURY TRIAL DEMANDED .........................................................................................................20
23

24

25

26
27

28

     CLASS ACTION COMPLAINT - i
     Case No.
     003229-11/1121825 V1
                   Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 3 of 22




 1            Jane Doe (“Plaintiff”), brings this action individually and on behalf of a class of adult

 2   patients of Fairfax Behavioral Health (“Fairfax”) who were indiscriminately strip searched upon

 3   arrival and video recorded during strip search and throughout the hospital.

 4                                          I.      INTRODUCTION
 5            1.       It is a violation of the standard of care for a psychiatric hospital to conduct strip

 6   searches in the absence of individualized assessments that a patient possesses drugs or weapons.

 7            2.       It is a violation of the standard of care for a psychiatric hospital to use video

 8   monitoring in the room where strip searches are conducted while patients are undressed.

 9            3.       All inpatient psychiatric patients are entitled to care, treatment and therapies to

10   maintain and improve their health and well-being. Most importantly for individuals with chronic

11   mental illness, inpatient psychiatric patients are entitled to dignity, respect, compassion, and

12   competent care.

13            4.       Fairfax has a blanket policy requiring all patients to remove clothing and practice

14   of randomly strip searching patients indiscriminately. The process is video recorded by Fairfax in

15   violation of patient’s privacy.

16            5.       No psychiatric hospital in Washington State other than Fairfax permits its staff to

17   arbitrarily conduct strip searches or cavity searches.

18            6.       No psychiatric hospital in Washington State other than Fairfax makes and keeps
19   video recordings of patients in various states undress, including areas where strip searches and

20   cavity searches are conducted.

21            7.       It is an unfair practice for a person in the operation of a place of public

22   accommodation to fail or refuse to make reasonable accommodation to the known physical,

23   sensory, or mental limitations of a person with a disability. Fairfax’s practice of arbitrarily

24   conducting strip-and-cavity searches of patients suffering from mental illness and use of invasive

25   video monitoring is substantially motivated by discriminatory animus toward people with serious

26   mental health conditions requiring inpatient treatment and restricts those patients from receiving
27   the treatment they present for and are entitled to receive.

28
     CLASS ACTION COMPLAINT - 1
     Case No.
     003229-11/1121825 V1
                    Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 4 of 22




 1             8.       Fairfax’s blanket policy requiring all patients to remove clothing and practice of

 2   indiscriminately strip searching patients and excessive video recording violates the Americans

 3   with Disabilities Act, the Washington Law Against Discrimination, Vulnerable Adult statute, and

 4   invades of patients’ privacy causing severe emotional distress, physical harm, and economic

 5   harm to Plaintiff and the Class, for which Fairfax must be held responsible.

 6                                              II.     THE PARTIES
 7             9.       Plaintiff Jane Doe is a resident of Oak Harbor, Washington and a citizen of the

 8   United States.

 9             10.      Defendant Fairfax Behavioral Health (“Fairfax”) is the largest private provider of

10   inpatient psychiatric services in the state of Washington. Fairfax’s principal place of business is

11   in Kirkland, Washington. Fairfax is a licensed psychiatric hospital that cares for outpatient and

12   inpatients, whether admitted voluntarily or involuntarily.1

13             11.      Fairfax operates a 157-bed, standalone psychiatric hospital, located in Kirkland,

14   Washington; composed of six units providing specialized treatment for mental health and co-

15   occurring disorders (concurrent mental illness and substance abuse issues), as well as

16   detoxification services for both adolescents and adults. Fairfax also operates a 30-bed adult

17   general psychiatric unit, located in Everett, Washington on the seventh floor of the Providence

18   Medical Center’s Pacific campus as well as, a 34-bed unit on the campus of Evergreen Health
19   Monroe.

20             12.      Fairfax offers primarily inpatient care. For example, in 2016, Fairfax received

21   over 98% of its revenue from inpatient admissions.2 And in 2017, Fairfax received 100% of its

22   revenue from inpatient admission.3

23             13.      At all times material hereto, Fairfax employed nurses and other health care

24   providers, whose names are presently unknown, to care for Plaintiff and Class members. All acts

25
         1
             WASHINGTON STATE DEPARTMENT OF HEALTH, Facility Search, https://fortress.wa.gov/doh/facilitysearch/.
26       2
            BHC Fairfax Hospital Inc. Year End Report to the Department of Health, Office of Hospital and Patient Data,
     https://www.doh.wa.gov/Portals/1/.../2300/HospPatientData/YearEnd/YE904-2016.xlsx.
27        3
            BHC Fairfax Hospital Inc. Year End Report to the Department of Health, Office of Hospital and Patient Data,
     https://www.doh.wa.gov/DataandStatisticalReports/HealthcareinWashington/HospitalandPatientData/HospitalFinan
28   cialData/YearEndReports/2017HospitalYearEndReports.
     CLASS ACTION COMPLAINT - 2
     Case No.
     003229-11/1121825 V1
                 Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 5 of 22




 1   and failures to act by nurses and other health care provides at Fairfax were done within the scope

 2   of their employment by Fairfax. At all times material hereto, Fairfax is vicariously liable for the

 3   acts/omissions committed by the employees and/or agents working for or on behalf of Fairfax.

 4            14.      Upon information and belief, Plaintiffs further allege that there may be other

 5   nurses, healthcare providers, agents or employees of Fairfax, or other persons or entities whose

 6   tortious acts or omissions further contributed to the injuries and damages suffered by Plaintiffs,

 7   but whose true and correct identity is not now known to Plaintiffs. Plaintiffs will seek leave of

 8   the Court to amend this Complaint to add the names of these persons or entities when their

 9   identities become known.

10                                  III.    JURISDICTION AND VENUE
11            15.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, because

12   this action arises under the laws of the United States. This Court also has jurisdiction pursuant to

13   the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because the proposed Class consists

14   of 100 or more members; the amount in controversy exceeds $5,000,000, exclusive of costs and

15   interest; and minimal diversity exists. This Court also has supplemental jurisdiction over the state

16   law claims pursuant to 28 U.S.C. § 1367.

17            16.      Venue is proper in this District under 28 U.S.C. § 1391 (a)-(d) because, inter alia,

18   substantial parts of the events or omissions giving rise to the claim occurred in the District and/or
19   a substantial part of property that is the subject of the action is situated in the District.

20                                               IV.     FACTS
21   A.       Plaintiff Doe was traumatized by baseless, invasive strip- and cavity-searches.
22            17.      On March 2, 2018, Jane Doe presented for inpatient admission to Fairfax Hospital

23   in Kirkland, Washington, a psychiatric hospital, for treatment for her mental illness. At intake,

24   Fairfax staff ordered her to completely undress for a search. Jane Doe has a history of sexual

25   abuse and explained that to the staff member. Nevertheless, she was again ordered to completely

26   undress. Plaintiff was not given a gown or towel to cover up during the search.
27

28
     CLASS ACTION COMPLAINT - 3
     Case No.
     003229-11/1121825 V1
                 Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 6 of 22




 1             18.     The staff member watched Ms. Doe undress and left the door open where other

 2   staff members could see her in various stages of undress—eventually, completely naked except

 3   for a small pair of g-string underwear.

 4             19.     Video cameras installed by Fairfax were present in the hallway, the holding area

 5   outside the bathroom, and the room where the strip search was conducted. The cameras recorded

 6   Plaintiff in a state of undress and during the events that followed. The footage, however, was

 7   destroyed by Fairfax after Ms. Doe began submitting grievances in connection with this search.

 8             20.     During the search, Ms. Doe started shaking and crying. The staff member

 9   demanded that Ms. Doe pull her underwear down to her knees, bend over, squat down, and

10   spread her vagina and behind for a cavity search. The staff member made this demand without

11   documenting the need for an intrusive strip search, or obtaining a clinical determination that one

12   was necessary from a psychiatric professional.

13             21.     In response, Ms. Doe began screaming and crying and curled up in a ball on the

14   floor. The staff member then threatened to get a male worker to restrain Ms. Doe—who at this

15   point was still undressed with her underpants around her knees—in order to conduct the cavity

16   search.

17             22.     Another female staff member intervened and managed to calm Ms. Doe down a

18   little. The second staff member suggested that Ms. Doe spread her cheeks and walk instead of
19   doing a cavity search. Ms. Doe complied to avoid any potential interaction with male Fairfax

20   staff.

21             23.     At no point during this humiliating process did the nurse or anyone at Fairfax

22   attempt to evaluate Ms. Doe’s current safety risk to herself or others. No one asked her any

23   questions about her current thoughts with regard to self-injury or whether she was carrying

24   anything she might use to hurt herself or others.

25             24.     At no time during this entire episode did Plaintiff state, imply, or otherwise

26   indicate that she had any current thoughts or intention to hurt herself or anyone else. At no time
27   during this entire period did Plaintiff act in a manner that would have led a reasonable health

28   care professional to believe that there was an immediate risk of harm to Plaintiff or to others.
     CLASS ACTION COMPLAINT - 4
     Case No.
     003229-11/1121825 V1
                 Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 7 of 22




 1            25.      Although mental health professionals were available at Fairfax to evaluate her at

 2   intake, no one evaluated Ms. Doe’s current safety risk by asking her any questions about her

 3   current thoughts regarding self-injury or whether she was carrying anything that she might use to

 4   hurt herself before demanding a strip search and threatening to get a male worker to conduct the

 5   invasive search.

 6   B.       Jane Doe filed grievances and video footage of the incident was destroyed.
 7            26.      The next day, Jane Doe tried to find someone to discuss what happened during the

 8   invasive strip search but was told there was no one for her to talk to because it was a weekend.

 9            27.      Finally, someone told her to fill out a grievance form which she did. Over the next

10   five days, she filled out five additional grievance forms. Plaintiff asked to see the policy on

11   searches but Fairfax staff refused to show it to her and Plaintiff was told to “get over it.”

12            28.      Video footage of this incident was destroyed after Plaintiff began filing

13   grievances in connection with it.

14            29.      Plaintiff’s emotional/mental health continued to decline during her stay at Fairfax.

15   This decline is directly attributable to the humiliating invasion of privacy and bodily autonomy

16   perpetrated by Fairfax and its staff.

17            30.      Fairfax failed to provide safe, non-abusive, treatment with dignity and privacy. As

18   a result of the March 2, 2018 strip search, Plaintiff experienced severe trauma, nightmares,
19   hopelessness, and greatly increased urges to harm and kill herself. In fact, Plaintiff attempted

20   suicide after her release from Fairfax.

21            31.      After leaving Fairfax in March 2018, Plaintiff has been hospitalized three times

22   for inpatient mental health treatment. These hospitalizations were a direct result of the Fairfax’s

23   pattern and practice of conducting strip searches on incoming patients without first performing

24   an individualized risk assessment and video recording.

25   C.       Fairfax Hospital staff practice indiscriminate cavity searching, strip searching and
              video recording of patients in various states of undress.
26
              32.      Fairfax has a blanket policy requiring all patients to remove their clothing and a
27
     practice of randomly strip-searching patients indiscriminately. This process is video recorded by
28
     CLASS ACTION COMPLAINT - 5
     Case No.
     003229-11/1121825 V1
                  Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 8 of 22




 1   Fairfax in violation of the patient’s privacy. Fairfax uses video cameras in the hall, the holding

 2   area outside the bathroom, and the room where the strip searches are conducted. Fairfax makes

 3   and keeps these video recordings to protect itself from liability, and not for any legitimate

 4   medical reasons or out of concern and care for its patients’ well-being.

 5              33.     Not only do these practices violate the standard of care for a psychiatric hospital,

 6   they have no connection to any legitimate psychiatric purpose. By way of comparison, other

 7   hospitals have policies that significantly limit staff members’ ability to conduct a strip-search or

 8   a cavity-search. These policies set forth layers of measures before resorting to a strip search. For

 9   example, at Eastern State Hospital, a patient must “verbalize a suicidal or homicidal plan with

10   covert or overt messages indicating the means are on his/her person and refuses to give it to

11   staff.”4 A body cavity search requires “credible report that a patient has concealed contraband in

12   a body cavity (e.g. glass in vagina, illegal drugs in rectum).”5 A physician must interview the

13   patient in order to conduct a cavity search, and all viable alternatives to a cavity search, such as

14   x-ray or the patient’s voluntary removal of the object must be eliminated before conducting the

15   search.6 At Western State Hospital, a strip- or cavity-search may only be conducted where there

16   is a “reasonable suspicion a patient possesses restricted items that constitute an immediate threat

17   to life or safety.”7 Western State Hospital staff are required to conduct the least intrusive type of

18   search necessary.8
19              34.     Other institutions require privacy safeguards for patients, including a requirement

20   that the searches be conducted in a private room without a camera. At Eastern State Hospital, a

21   strip search requires two staff members of the same sex be present, and that they conduct the

22

23

24

25       4
          Contraband Search, Eastern State Hospital Man § 1.39, at 7 (effective June 1993, last reviewed May 2017)
     (emphasis added).
26       5
             Contraband Search, Eastern State Hospital Man § 1.39, at 8 (effective June 1993, last reviewed May 2017).
         6
27           Contraband Search, Eastern State Hospital Man. § 1.39, at 8 (effective June 1993, last reviewed May 2017).
         7
             Searches, Western State Hospital, Policy 13.06(F) (issued March 2017) (emphasis in original).
28       8
             Searches, Western State Hospital, Policy 13.06(A) (issued March 2017).
     CLASS ACTION COMPLAINT - 6
     Case No.
     003229-11/1121825 V1
                     Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 9 of 22




 1   search as quickly as possible so the patient is not unclothed any longer than is necessary.9 A

 2   cavity search must be conducted by a physician and an RN of the same sex as the patient.10

 3               35.      As yet another layer of protection for patients, other institutions require layers of

 4   oversight before a strip- or a cavity- search can be conducted. At Eastern Washington State

 5   Hospital, for instance, a physician must order a strip-search. And the hospital’s CEO or designee

 6   must authorize a cavity search.11 At Western State Hospital, a written physician’s order is

 7   required for either a strip- or a cavity-search.12

 8               36.      Other institutions furthermore require documentation of the reasons, results, and

 9   persons involved in a search.13

10               37.      On information and belief, no psychiatric hospital in Washington State other than

11   Fairfax permits its staff to arbitrarily conduct strip searches or cavity searches.

12               38.      On information and belief, no psychiatric hospital in Washington State other than

13   Fairfax makes and keeps video recordings of patients in various states of undress.

14   D.          Fairfax Hospital’s invasive search and video monitoring practices are motivated by
                 discriminatory animus.
15
                 39.      Stigma about people suffering from mental illness is deeply embedded in social
16
     and cultural norms. Such stigma is a baseless, prejudicial attitude that discredits individuals
17
     suffering from mental illness, marking them as tainted and devalued.14 Stigma results in
18
     discrimination in employment, housing, medical care, and social relationships. Public stigma
19
     reflects a larger social and cultural context of negative community-based attitudes, beliefs, and
20
     predispositions that shape informal, professional, and institutional responses.15
21

22

23
          9
              Contraband Search, Eastern State Hospital Man. § 1.39, at 7-8 (effective June 1993, last reviewed May 2017).
24        10
               Contraband Search, Eastern State Hospital Man. § 1.39, at 8 (effective June 1993, last reviewed May 2017).
          11
               Contraband Search, Eastern State Hospital Man. § 1.39, at 7-8 (effective June 1993, last reviewed May 2017).
25        12
               Searches, Western State Hospital, Policy 13.06(B)(1), (F) (issued March 2017).
          13
26         Searches, Western State Hospital, Policy 13.06(G) (issued March 2017); Contraband Search, Eastern State
     Hospital Man. § 1.39, at 3 (effective June 1993, last reviewed May 2017).
27      14
           Pescosolido, et. al., A Disease Like Any Other? A Decade of Change in Public Reaction to Schizophrenia,
     Depression, and Alcohol Dependence, AM J PSYCHIATRY (2010), 167:1321-1330.
28        15
               Id.
     CLASS ACTION COMPLAINT - 7
     Case No.
     003229-11/1121825 V1
                    Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 10 of 22




 1              40.     Individuals with mental illness are subjected to prejudice and discrimination from

 2   others (i.e., received stigma), and they may internalize feelings of devaluation (i.e., self-stigma).

 3   On a societal level, this stigma has been implicated in low service use and inadequate funding for

 4   mental health research and treatment (i.e., institutional stigma).16

 5              41.     Much of the stigma associated with mental illness results from conflating mental

 6   illness with violence. Sensational news reporting on violent crimes committed by people with

 7   mental illness, particularly mass shootings, perpetuates the stigma. These reports focus on mental

 8   illness, ignoring the fact that most of the violence in society is caused by people without mental

 9   illness. This societal bias contributes to the stigma faced by those with a psychiatric diagnosis,

10   which leads to discrimination.17

11              42.     “Most people with mental illness are not violent toward others and most violence

12   is not caused by mental illness, but you would never know that by looking at media coverage of

13   incidents,” says Emma E. McGinty, PhD, MS, an assistant professor in the departments of

14   Health Policy and Management and Mental Health at the Bloomberg School. “Despite all of the

15   work that has been done to reduce stigma associated with mental health issues, this portrayal of

16   mental illness as closely linked with violence exacerbates a false perception about people with

17   these illnesses, many of whom live healthy, productive lives.”18

18              43.     Although mental health professionals hold more positive attitudes than the general
19   public about people with mental health problems, strong stereotypes persist in both groups.19 In a

20   2014 study of Washington State mental health professionals, many providers held negative

21   attitudes about a hypothetical vignette character with symptoms of schizophrenia—nearly a third

22   said it was likely that this individual would be violent toward others.20 Yet study after study

23
         16
24            Id.
         17
              Id.
25       18
             Study: News Stories Often Link Violence With Mental Health Illness, Even Though People With Mental
     Health Illness Are Rarely Violent, Johns Hopkins Bloomberg School of Public Health (2016),
26   https://www.jhsph.edu/news/news-releases/2016/study-news-stories-often-link-violence-with-mental-health-llness-
     even-though-people-with-mental-health-illness-are-rarely-violent.html.
27       19
            Stuber JP, Conceptions of Mental Illness: Attitudes of Mental Health Professionals and the General Public
     (2014).
28       20
              Id.
     CLASS ACTION COMPLAINT - 8
     Case No.
     003229-11/1121825 V1
                    Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 11 of 22




 1   confirms that schizophrenia, major depression, or bipolar disorder alone do not predict

 2   violence.21 A study from 1998, for example, followed patients released from psychiatric

 3   hospitals and found that they were no more prone to violence than other people in their

 4   communities unless they also had a substance abuse problem.22 And a 2009 study analyzing the

 5   results of the National Epidemiologic Survey on Alcohol and Related Conditions confirmed that

 6   serious mental illness is not by itself a predictor of violence.23

 7              44.     The biases and prejudices held by mental health treatment providers can have a

 8   significant negative impact on treatment outcomes and quality of life.24 People with mental

 9   disorders engage with mental health professionals at a vulnerable time. Even a small number of

10   professionals engaging in the denigration of people with mental illness or holding low

11   expectations for improvement translates into negative treatment outcomes and a reluctance to

12   seek mental health treatment in the future.25

13              45.     Even though studies have shown that up to one-third of mental health

14   professionals in Washington State incorrectly associate serious mental illness with violence,

15   Fairfax has failed to limit the operation of this bias against its patients. Fairfax does not restrict

16   arbitrary searches and invasive monitoring. This allows the discriminatory animus of its staff

17   against people with mental illness to go unchecked. Staff at Fairfax may indiscriminately strip

18   search, cavity search, and video record of patients without any justification, oversight, or
19   documentation.

20              46.     Fairfax’s practices—and its failure to limit the discretion of its staff—means that

21   a substantial number of its mental health patients do not have reasonable access to inpatient care

22   for mental health disorders.

23

24       21
           Elbogen, Johnson, The Intricate Link Between Violence and Mental Disorder; Results From the National
     Epidemiologic Survey on Alcohol and Related Conditions, ARCH GEN PSYCHIATRY (2009), 66(2):152-161.
25       22
              MacArthur Community Violence Study (2001), http://www.macarthur.virginia.edu/violence.html.
         23
26         Elbogen, Johnson, The Intricate Link Between Violence and Mental Disorder; Results From the National
     Epidemiologic Survey on Alcohol and Related Conditions, ARCH GEN PSYCHIATRY (2009), 66(2):152-161.
27       24
            Stuber JP, Conceptions of Mental Illness: Attitudes of Mental Health Professionals and the General Public
     (2014).
28       25
              Id.
     CLASS ACTION COMPLAINT - 9
     Case No.
     003229-11/1121825 V1
                Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 12 of 22




 1            47.      Fairfax could easily provide reasonable access to care for mental health patients

 2   by implementing the safeguards that other institutions already use: (1) a tiered approach that

 3   requires additional justification as searches become more invasive, (2) an oversight scheme that

 4   requires escalating approval as searches become more invasive; and (3) a requirement that the

 5   reasons, results, and persons involved in a search be documented. Fairfax can also easily restrict

 6   video monitoring to areas where patients are fully clothed, as do other institutions.

 7   E.       Fairfax Hospital’s strip search and video monitoring practices have a disparate
              impact on survivors of trauma, including Jane Doe.
 8
              48.      Trauma is a near universal experience of individuals with behavioral health
 9
     problems.26 Approximately 90% of those seeking inpatient services are trauma survivors.27
10
              49.      Retraumatization occurs when patients experience something that makes them
11
     feel as though they are undergoing another trauma, such as being involuntarily touched, forced,
12
     or held down.28
13
              50.      All inpatient psychiatric patients are entitled to care, treatment and therapies to
14
     maintain and improve their health and well-being. Most importantly for individuals with chronic
15
     mental illness, inpatient psychiatric patients are entitled to dignity, respect, compassion, and
16
     competent care.
17
              51.      The practice of requiring psychiatric patients to strip can cause patients with a
18
     history of sexual abuse severe anxiety because it triggers memories of prior abuse.
19
              52.      It is well recognized by mental health professionals that in the absence of an
20
     emergency, an individualized assessment should be made by a mental health professional before
21
     a strip search is conducted. It is also well recognized by mental health professionals that for
22
     some patients, requests or requirements that they strip and be searched can cause turmoil,
23

24
          26
             Trauma-Informed Care, National Council for Behavioral Health (2019),
25   https://www.thenationalcouncil.org/topics/trauma-informed-care/.
         27
            Mueser, Essock, Haines, Wolfe & Xie, Posttraumatic Stress Disorder, Supported Employment, and
26   Outcomes in People with Severe Mental Illness, US National Library of Medicine National Institute of Health
     (2004), https://www.ncbi.nlm.nih.gov/pubmed/15616477.
27       28
            A Treatment Improvement Protocol: Trauma-Informed Care in Behavioral Health Services, TIP 57,
     SAMHSA (2014), http//store.samhsa.gov/product/TIP-57-Trauma-Informed-Care-In-Behavioral-Health-
28   Services/SMA14-4816.
     CLASS ACTION COMPLAINT - 10
     Case No.
     003229-11/1121825 V1
                Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 13 of 22




 1   extreme agitation, panic, and exacerbates existing psychiatric conditions including anxiety,

 2   depression, and post-traumatic stress disorder.

 3            53.      Fairfax’s pattern and practice of indiscriminately performing invasive searches of

 4   patients and excessive use of unnecessary video recording strip searches and throughout the

 5   hospital is negligent, violates the Vulnerable Adult statute and the Washington Law Against

 6   Discrimination, and invades patients’ privacy causing severe emotional distress, physical harm,

 7   and economic harm to Plaintiff and the Class, for which Fairfax must be held responsible.

 8                                      V.      CLASS ALLEGATIONS
 9            54.      Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(3)

10   and 23(c)(4) on behalf of themselves and the following Class:

11                     All adult inpatients of Fairfax Behavioral Health who were
                       arbitrarily strip- or cavity-searched upon admission and were video
12                     recorded throughout the hospital.

13            55.      The Class consists of hundreds, of individuals, if not more, making joinder

14   impracticable, in satisfaction of Fed. R. Civ. P. 23(a)(1). The exact size of the Class and the

15   identities of the individual members are ascertainable through records maintained by Fairfax.

16            56.      The claims of Plaintiffs are typical of the Class. The claims of the Plaintiff and the

17   Class are based on the same legal theories and arise from the same unlawful pattern and practice

18   of strip searching patients without particularized suspicion and excessive use of video recording
19   throughout the hospital.

20            57.      There are many questions of law and fact common to the claims of Plaintiff and

21   the Class, and those questions predominate over any questions that may affect only individual

22   Class Members within the meaning of Fed. R. Civ. P. 23(a)(2) and (c)(4).

23            58.      Common questions of fact and law affecting members of the Class include, but

24   are not limited to, the following:

25                     a.     Whether Fairfax employees fail to provide mental health treatment and

26   deny reasonable accommodations to seriously mentally ill patients who require inpatient
27   treatment by performing strip- and cavity-searches without justification, oversight or

28   documentation.
     CLASS ACTION COMPLAINT - 11
     Case No.
     003229-11/1121825 V1
                Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 14 of 22




 1                     b.     Whether Fairfax’s pattern and practice of performing invasive searches of

 2   patients without particularized suspicion violates the Americans with Disabilities Act;

 3                     c.     Whether Fairfax’s pattern and practice of performing invasive searches of

 4   patients without particularized suspicion violates the Vulnerable Adult statute;

 5                     d.     Whether Fairfax’s pattern and practice of performing invasive searches of

 6   patients without particularized suspicion violates the Washington Law Against Discrimination;

 7                     e.     Whether Fairfax’s use of video cameras in the hall, in the holding area

 8   outside the bathroom, and in the room where strip searches are being conducted invades patient

 9   privacy; and

10                     f.     Whether Fairfax’s practice of unjustified, unsupervised, and

11   undocumented strip- and cavity-searches and practice of video-recording patients denies those

12   experiencing mental illness from receiving the treatment they present for and are entitled to

13   receive.

14            59.      Absent a class action, most of the members of the Class would find the cost of

15   litigating their claims to be prohibitive and will have no effective remedy. The class treatment of

16   common questions of law and fact is also superior to multiple individual actions or piecemeal

17   litigation in that it conserves the resources of the courts and the litigants and promotes

18   consistency and efficiency of adjudication.
19            60.      Plaintiff will fairly and adequately represent and protect the interests of the Class.

20   Plaintiff has retained counsel with substantial experience in prosecuting complex litigation and

21   class actions. Plaintiff and her counsel are committed to vigorously prosecuting this action on

22   behalf of the other respective Class Members, and have the financial resources to do so. Neither

23   Plaintiff nor her counsel has any interests adverse to those of the other members of the Class.

24                                       VI.     CAUSES OF ACTION
25                                                  COUNT I
26                     TITLE III OF THE AMERICANS WITH DISABILITIES ACT
27            61.      Plaintiff realleges and incorporates by reference the allegations contained in the

28   previous paragraphs.
     CLASS ACTION COMPLAINT - 12
     Case No.
     003229-11/1121825 V1
                Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 15 of 22




 1            62.      The Americans with Disabilities Act (“ADA”) was passed in 1990 to “provide a

 2   clear and comprehensive national mandate for the elimination of discrimination against people

 3   with disabilities,” 42 U.S.C. § 12101(b)(1). Congress explicitly defined discrimination to include

 4   “over-protective rules and policies,” “failure to make modifications to existing ... practices,” and

 5   “segregation, and relegation to lesser services,” 42 U.S.C. § 12101(a)(5).

 6            63.      When Congress passed the ADA, it intended to “address the major areas of

 7   discrimination faced day to day by people with disabilities,” 42 U.S.C. § 12101(b)(4), including

 8   in the area of “health services,” 42 U.S.C. § 12101(a)(3).

 9            64.      Fairfax is a “place of public accommodation” as that term is defined in Title III of

10   the Americans with Disabilities Act, 42 U.S.C. § 12181(7)(F), 28 C.F.R. § 36.104. The ADA

11   prohibits discrimination by a public accommodation against any individual on the basis of

12   disability. 28 C.F.R. § 36.201(a).

13            65.      Plaintiff and the class suffer from serious mental health conditions that require

14   inpatient treatment and impair their ability to request accommodations. They are members of a

15   protected class of people with disabilities under the ADA.

16            66.      Title III of the ADA prohibits public accommodations from discriminating against

17   individuals with disabilities in the full and equal enjoyment of the goods, services, facilities,

18   privileges, advantages or accommodations of any place of public accommodations, 42 U.S.C.
19   § 12182(a). The definition of discrimination includes “failure to make reasonable modifications

20   in policies, practices, or procedures, when such modifications are necessary to afford such goods,

21   services, facilities, privileges, advantages or accommodations to individuals with disabilities,

22   unless the entity can demonstrate that making such modifications would fundamentally alter the

23   nature of such goods, services, facilities, privileges, advantages, or accommodations.” 42 U.S.C.

24   § 12182(b)(2)(A)(ii).

25            67.      Fairfax’s practice of unjustified, unsupervised, and undocumented strip- and

26   cavity-searches denies those experiencing mental illness from receiving the treatment they
27   require and are entitled to receive. Fairfax’s humiliating, unchecked search practices proximately

28   resulted in negative treatment outcomes for Jane Doe and the Class, as well as substantial mental
     CLASS ACTION COMPLAINT - 13
     Case No.
     003229-11/1121825 V1
                  Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 16 of 22




 1   and physical anguish. These practices are substantially motivated by discriminatory animus

 2   towards people with serious mental health conditions requiring inpatient treatment. These

 3   practices deliberately required Plaintiff and the class to endure unnecessary hardship in order to

 4   access a program or service. That hardship could easily be eliminated by a reasonable

 5   accommodation, such as the policies and practices implemented by other institutions set forth in

 6   paragraphs 33 through 36 and paragraph 47 of this Complaint. Fairfax has thus failed to provide

 7   class members with the reasonable accommodations required by the federal disability statutes,

 8   failing to ensure them meaningful access to the benefits to which they are entitled.

 9            68.      Fairfax’s practice of recording patients during strip- and cavity-searches restricts

10   those experiencing mental illness from receiving the treatment they require and are entitled to

11   receive. Fairfax’s humiliating video recording practices proximately resulted in negative

12   treatment outcomes for Jane Doe and the Class, as well as substantial mental and physical

13   anguish. This practice is substantially motivated by discriminatory animus towards people with

14   serious mental health conditions requiring inpatient treatment. This practice deliberately required

15   Plaintiff and the class to endure unnecessary hardship in order to access a program or service.

16   That hardship could easily be eliminated by a reasonable accommodation, such as a the policies

17   and practices implemented by other institutions set forth in paragraphs 33 through 36 and

18   paragraph 47 of this Complaint. Fairfax has thus failed to provide class members with the
19   reasonable accommodations required by the federal disability statutes, failing to ensure them

20   meaningful access to the benefits to which they are entitled.

21                                                  COUNT II
22                                  ABUSE OF VULNERABLE ADULTS
23            69.      Plaintiff re-alleges and incorporates by reference the allegations contained in the

24   previous paragraphs.

25            70.      At all times, Fairfax was required to comply with the Vulnerable Adult statute at

26   RCW 74.34, et seq.
27            71.      RCW 74.34.021 defines a “vulnerable adult” as “a person…admitted to any

28   facility.”
     CLASS ACTION COMPLAINT - 14
     Case No.
     003229-11/1121825 V1
                Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 17 of 22




 1            72.      Fairfax Behavioral Health is a “facility,” as defined in RCW 74.34.020.

 2            73.      Plaintiff and Class members are vulnerable adults as define under RCW

 3   74.34.020.

 4            74.      Fairfax violated the Vulnerable Adult statute by, among other things, subjecting

 5   Plaintiff and Class members to abuse, mental abuse, and/or neglect as defined under RCW

 6   74.34.020.

 7            75.      As a direct and/or proximate result of Fairfax’s actions and/or inactions, Plaintiff

 8   and Class members were damaged.

 9            76.      In addition to other remedies available under the law, a vulnerable adult who has

10   been subjected to abuse, mental abuse, and/or neglect either while residing in a facility shall have

11   a cause of action for damages on account of his or her injuries, pain and suffering, and loss of

12   property sustained thereby.

13            77.      As a result of Fairfax’s acts and/or omissions described herein, Plaintiff and Class

14   members shall be awarded his or her actual damages, together with the costs of the suit,

15   including a reasonable attorneys’ fee. The term “costs” includes, but is not limited to, the

16   reasonable fees for a guardian, guardian ad litem, and experts, if any, that may be necessary to

17   the litigation of a claim brought under this section.

18                                                 COUNT III
19                                               NEGLIGENCE
20            78.      Plaintiff realleges and incorporates by reference the allegations contained in the

21   previous paragraphs.

22            79.      By seeking psychiatric treatment from Fairfax, a special, confidential, and

23   fiduciary relationship between Plaintiffs and Fairfax was created, resulting in Fairfax owing

24   Plaintiffs a duty to use care to ensure their safety and freedom from assault, abuse, and

25   molestation while interacting with their employees, representatives, and/or agents.

26            80.      Fairfax had a duty to hire competent, qualified and experienced employees who
27   were knowledgeable and familiar with the proper standards of care of vulnerable adults.

28
     CLASS ACTION COMPLAINT - 15
     Case No.
     003229-11/1121825 V1
                Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 18 of 22




 1            81.      Fairfax had a duty to train and supervise their employees, agents and other

 2   individuals hired by them to provide safe and proper care to vulnerable adults who were either

 3   voluntarily admitted or involuntarily committed patients at Fairfax.

 4            82.      Fairfax violated their duty of care and their duty to act reasonably by, among

 5   other things, performing invasive searches of patients without particularized suspicion.

 6            83.      Fairfax violated their duty of care and their duty to act reasonably by, among

 7   other things, using video cameras outside the bathroom, where patients change and in the

 8   seclusion room where invasive searches are conducted.

 9            84.      Fairfax violated their duty of care by, among other things, failing to adequately

10   instruct, monitor, and supervise their employees and agents regarding what searches can be done

11   and with what protections.

12            85.      As a direct and/or proximate result of Fairfax’s actions and/or inactions, Plaintiff

13   and Class members were damaged.

14                                                 COUNT IV
15                                         INVASION OF PRIVACY
16            86.      Plaintiff re-alleges and incorporates by reference the allegations contained in the

17   previous paragraphs.

18            87.      Fairfax uses video cameras in the hall, in holding area outside bathroom, and in
19   the room where the strip searches are conducted.

20            88.      Although hospitals can have legitimate reasons to video record patients, Fairfax’s

21   practice violated the standard of care.

22            89.      Fairfax intentionally intruded upon Plaintiff and Class members’ solitude,

23   seclusion or private affairs and concerns by recording patients in the hallway, in holding area

24   outside the bathroom, and in the room where strip searches are conducted. This intrusion is

25   highly offensive to reasonable individuals, such as Plaintiff and the Class members, and was

26   totally unwarranted and unjustified constituting an invasion of privacy.
27            90.      As a direct and/or proximate result of Fairfax’s actions and/or inactions, Plaintiff

28   and Class members were damaged.
     CLASS ACTION COMPLAINT - 16
     Case No.
     003229-11/1121825 V1
                Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 19 of 22




 1                                                 COUNT V
 2                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 3            91.      Plaintiff realleges and incorporates by reference the allegations contained in the

 4   previous paragraphs.

 5            92.      Fairfax’s extreme and outrageous conduct intentionally or recklessly caused

 6   severe emotional distress to Plaintiff and the Class members.

 7            93.      Fairfax acted with intent or recklessness, knowing that the pattern and practice of

 8   indiscriminately strip-searching psychiatric patients, many of whom have been sexually and

 9   physically abused, would likely cause emotional distress. Additionally, Fairfax acted with intent

10   or recklessness, knowing that the use of video cameras in the area outside the bathroom where

11   patients are required to undress and in the room where strip searches are conducted, would likely

12   cause emotional distress.

13            94.      Fairfax’s conduct caused suffering for Plaintiff and Class members at levels that

14   no reasonable person should have to endure.

15            95.      As a direct and/or proximate result of Fairfax’s actions, Plaintiff and Class

16   members were damaged.

17                                                 COUNT VI
18                          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
19            96.      Plaintiff realleges and incorporates by reference the allegations contained in the

20   previous paragraphs.

21            97.      Fairfax’s extreme and outrageous conduct caused severe emotional distress to

22   Plaintiff and the Class members.

23            98.      Fairfax knew that the pattern and practice of indiscriminately strip searching

24   psychiatric patients, many of whom have been sexually and physically abused, would likely

25   cause emotional distress. Additionally, Fairfax knows that the use of video cameras in the area

26   outside the bathroom where patients are required to undress and in the room where strip searches
27   are conducted, would likely cause emotional distress.

28
     CLASS ACTION COMPLAINT - 17
     Case No.
     003229-11/1121825 V1
                Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 20 of 22




 1            99.      Fairfax’s conduct caused suffering for Plaintiff and Class members at levels that

 2   no reasonable person should have to endure.

 3            100.     As a direct and/or proximate result of Fairfax’s actions, Plaintiff and Class

 4   members were damaged.

 5                                                 COUNT VII
 6                          WASHINGTON LAW AGAINST DISCRIMINATION
 7            101.     Fairfax Behavioral Health is a place of public accommodation.

 8            102.     Plaintiff and the class suffer from serious mental health conditions that require

 9   inpatient treatment. They are members of a protected class of people with disabilities related to

10   the presence of a mental health disability.

11            103.     Under RCW 49.60.030(l)(b), The Washington Law Against Discrimination

12   (“WLAD”) secures the right to "full enjoyment" of any place of public accommodation,

13   including the right to purchase any service or commodity sold by any place of public

14   accommodation "without acts directly or indirectly causing persons of [a protected class] to be

15   treated as not welcome, accepted, desired, or solicited." See RCW 49.60.040(14). Similarly,

16   WLAD prohibits “any person or the person’s agent or employee [from committing] an act which

17   directly or indirectly results in any distinction, restriction, or discrimination” based on a person’s

18   membership in a protected class. RCW 49.60.
19            104.     The WLAD protects the customer’s “full enjoyment” of the services and

20   privileges offered in public accommodations. RCW 49.60.030(l)(b). WLAD’s broad definition of

21   "full enjoyment" extends beyond denial of service to include liability for mistreatment that

22   makes a person feel "not welcome, accepted, desired, or solicited." RCW 49.60.040(14).

23            105.     WLAD makes it unlawful for “any person or the person’s agent or employee to

24   commit an act” of, among other things, discrimination in a place of public accommodation.

25   RCW 49.60.215. This provision imposes direct liability on employers for the discriminatory

26   conduct of their agents and employees.
27

28
     CLASS ACTION COMPLAINT - 18
     Case No.
     003229-11/1121825 V1
                Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 21 of 22




 1            106.     It is an unfair practice for a person in the operation of a place of public

 2   accommodation to fail or refuse to make reasonable accommodation to the known physical,

 3   sensory, or mental limitations of a person with a disability. WAC 162-26-080(1).

 4            107.     Fairfax’s practice of unjustified, unsupervised, and undocumented strip- and

 5   cavity-searches denies those experiencing mental illness from receiving the treatment they

 6   present for and are entitled to receive. Fairfax’s humiliating, unchecked search practices

 7   proximately resulted in negative treatment outcomes for Jane Doe and the Class, as well as

 8   substantial mental and physical anguish. These practices are substantially motivated by

 9   discriminatory animus towards people with serious mental health conditions requiring inpatient

10   treatment.

11            108.     Fairfax’s practice of recording patients during strip- and cavity-searches restricts

12   those experiencing mental illness from receiving the treatment they present for and are entitled to

13   receive. Fairfax’s humiliating video recording practices proximately resulted in negative

14   treatment outcomes for Jane Doe and the Class, as well as substantial mental and physical

15   anguish. This practice is substantially motivated by discriminatory animus towards people with

16   serious mental health conditions requiring inpatient treatment.

17                                          PRAYER FOR RELIEF
18            WHEREFORE, Plaintiff, individually and on behalf of all Class members, pray that this
19   Court:

20            A.       Certify the Class, name Plaintiff as representative of the Class, and appoint her

21   lawyers as Class Counsel;

22            B.       Enter judgment against Fairfax Behavior Health in favor of Plaintiff and the

23   Class;

24            C.       Award Plaintiff and the Class members damages for pain and suffering, and

25   compensatory and punitive damages;

26            D.       Injunctive relief including preliminary and permanent injunctions restraining
27   Fairfax from indiscriminately strip searching patients and/ or recording strip searches and

28
     CLASS ACTION COMPLAINT - 19
     Case No.
     003229-11/1121825 V1
                Case 2:19-cv-00635-TSZ Document 1 Filed 04/30/19 Page 22 of 22




 1   requiring Fairfax to create protocols for conducting searches that require an individualized

 2   assessment of immediate danger to self or others;

 3            E.       Injunctive relief including preliminary and permanent injunctions restraining

 4   Fairfax from recording patients during strip- and cavity-searches and in other areas where

 5   patients undress and requiring Fairfax to create protocols controlling the use of video-recording

 6   and preservation of video-recordings; and

 7            F.       Award Plaintiffs their reasonable attorneys’ fees and costs.

 8                                       JURY TRIAL DEMANDED
 9            Plaintiffs demand a trial by jury on all issues so triable.

10
     Dated: April 30, 2019                            Respectfully submitted,
11
                                                     HAGENS BERMAN SOBOL SHAPIRO LLP
12

13                                                   By /s/ Steve W. Berman
                                                         Steve W. Berman, WSBA No. 12536
14                                                   /s/ Shelby R. Smith
                                                     Shelby R. Smith, WSBA No. 31377
15                                                   1301 Second Avenue, Suite 2000
                                                     Seattle, WA 98101
16
                                                     Telephone: (206) 623-7292
17                                                   Facsimile: (206) 623-0594
                                                     steve@hbsslaw.com
18                                                   shelby@hbsslaw.com
19                                                   /s/ Alexa Polaski
20                                                   Alexa Polaski, WSBA No. 52683
                                                     /s/ Stacie Siebrecht
21                                                   Stacie Siebrecht, WSBA No. 29992
                                                     Disability Rights Washington
22                                                   315 Fifth Avenue South, Suite 850
                                                     Seattle, WA 98104
23                                                   Telephone: (206) 324-1521
24                                                   alexap@dr-wa.org
                                                     stacies@dr-wa.org
25
                                                     Attorneys for Plaintiffs
26
27

28
     CLASS ACTION COMPLAINT - 20
     Case No.
     003229-11/1121825 V1
